     Case 6:16-ap-01072-MW    Doc 1 Filed 03/22/16 Entered 03/22/16 11:33:31     Desc
                              Main Document     Page 1 of 5


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 6
                              UNITED STATES BANKRUPTCY COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA
                                    RIVERSIDE DIVISION
 8

 9   In re,                                ) Case No.: 6:16-bk-11051-MW
                                           ) Chapter 7
10   WILBERT MAURICIO HENRIQUEZ,           )
                                           )
11        Debtor.                          )
                                           )_
12   _____________________________________ )
                                           )
13   VOKSHORI LAW GROUP,                   ) Adversary No.
     A PROFESSIONAL LAW CORPORATION,       )
14                                         ) COMPLAINT OBJECTING TO
          Plaintiff,                       ) DISCHARGEABILITY OF INDEBTEDNESS
15                                         ) (11 U.S.C. § 523)
     v.                                    )
16                                         )
                                           )
17    WILBERT MAURICIO HENRIQUEZ,          )
                                           )
18        Defendant.                       )
                                           )
19

20   COMES NOW the Plaintiff Vokshori Law Group, a Professional Law Corporation,

21   through its attorney of record, and alleges as follows:

22                             I.      PARTIES AND JURISDICTION

23      1. Plaintiff Vokshori Law Group is a professional law corporation duly

24   incorporated with an address of 1404 Wilshire Boulevard, Suite 1404, Los

25   Angeles, CA 90017.

26      2. Defendant WILBERT MAURICIO HENRIQUEZ is an individual with an address

27   of 5937 Paramount Drive, Riverside, CA 92509 and the Debtor in the above-

28   referenced chapter 7 bankruptcy case.

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     Case 6:16-ap-01072-MW      Doc 1 Filed 03/22/16 Entered 03/22/16 11:33:31      Desc
                                Main Document     Page 2 of 5


 1      3. This adversary proceeding is brought under 11 U.S.C. §§ 523(a)(2)(A)

 2   and (C).

 3      4. The Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and 11

 4   U.S.C. § 523.

 5         5. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I)

 6   determinations as to the dischargeability of particular debts.

 7         6. Venue is proper pursuant to 28 U.S.C. § 1409 as this adversary

 8   proceeding arises under and in connection with a case pending in this

 9   judicial district.

10                              II.    FACTS COMMON TO ALL COUNTS

11         7. Defendant filed a Chapter 7 bankruptcy petition on February 8, 2016

12   (also “Bankruptcy Filing” herein) assigned case no. 6:16-bk-11051-MW, the

13   above-referenced case.

14         8.     The Defendant entered into a legal services agreement with

15   Plaintiff for loan modification services dated June 1, 2015.     A copy of the

16   contract is attached hereto as Exhibit A.

17        9. By entering into the contract with Plaintiff, Defendant agreed to pay

18   the Plaintiff under the terms provided in the contract.

19        10. Between June 1, 2015 and the date of the Bankruptcy Filing, the

20   Defendant incurred charges for services in the amount of $3,894.00 (also the

21   “Charges” herein).     A copy of an invoice is attached hereto as Exhibit B.    Of

22   this amount $3,894.00 of the Charges were incurred within 90 days of the

23   Bankruptcy Filing.

24        11.     The Defendant did not and has not made any payment to the

25   Plaintiff.

26         12.     The Defendant stated to the Plaintiff that he had no intention of

27   repaying the Charges.

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     Case 6:16-ap-01072-MW       Doc 1 Filed 03/22/16 Entered 03/22/16 11:33:31     Desc
                                 Main Document     Page 3 of 5


 1         13.     Defendant’s conduct has damaged Plaintiff in the amount of

 2   $3,894.00.

 3                   III.   COUNT ONE, FRAUD; 11 USC section 523(a)(2)(A)

 4         14.     The Plaintiff re-alleges and incorporates by reference the

 5   allegations set forth in paragraphs 1 through 13 above.

 6        15. The Defendant’s debt to the Plaintiff should be found not

 7   dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A). The court must consider

 8   whether the debt was incurred through actual fraud, i.e., where the debtor

 9   made the Charges with no intention of paying for the services, see In re

10   Dougherty, 84 B.R. 653 (9th Cir. BAP 1988).      Pursuant to Dougherty, courts

11   may consider many factors to determine a debtor’s intent.

12        16.     11 U.S.C. § 523(a)(2)(A) provides that a debt is not discharged if

13   incurred for services obtained by false pretense, a false representation, or

14   actual fraud.

15        17.     The Charges were not incurred for goods/services reasonably

16   necessary for the maintenance or support of the Defendant or the Defendant’s

17   dependents.     The Charges incurred for loan modification services were

18   incurred for consumer debt as defined by 11 U.S.C. § 101(8)

19        18.     By entering into the contract and incurring the Charges on the

20   account, the Defendant represented an intention to repay them.

21        19.     Defendant exhibited an intention to repay Plaintiff the Charges

22   incurred by accepting the benefits of the charges

23        20.     The Defendant’s incurrence of charges and subsequent non-repayment

24   constitute material misrepresentations of an intent to pay Plaintiff.        At the

25   time, the Defendant knew his representations to be false.

26        21.     Defendant made the representations with the intention for Plaintiff

27   to rely on those misrepresentations.

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     Case 6:16-ap-01072-MW      Doc 1 Filed 03/22/16 Entered 03/22/16 11:33:31     Desc
                                Main Document     Page 4 of 5


 1        22.    Plaintiff justifiably relied on Defendant’s misrepresentations,

 2   which induced the Plaintiff to provide services to the Defendant.

 3        23.    Defendant incurred a debt to the Plaintiff through fraud and false

 4   pretenses, false representations and/or actual fraud.

 5        24.    The Defendant caused the Plaintiff damage in the amount of

 6   $3894.00.

 7        25.    The Defendant should be denied a discharge in the amount of

 8   $3894.00 pursuant to 11 U.S.C. § 523(a)(2)(A).

 9                    IV.   COUNT II FRAUD; 11 USC section 523(a)(2)(C)

10        26.    The Plaintiff re-alleges and incorporates by reference the

11   allegations set forth in paragraphs 1 through 25 above.

12        27.    The Defendant’s debt to the Plaintiff should be found presumably

13   not dischargeable pursuant to 11 U.S.C. § 523(a)(2)(C).

14        28.    The Charges incurred for loan modification services were incurred

15   for consumer debt as defined by 11 U.S.C. § 101(8).

16        29.    The Charges were not incurred for goods/services reasonably

17   necessary for the maintenance or support of the Defendant or the Defendant’s

18   dependents.

19        30.    The Defendant’s consumer debts are presumably nondischargeable

20   because they are owed to a single creditor, the Plaintiff, and aggregate more

21   than $500 for luxury goods and services incurred by an individual debtor on

22   or within 90 days of the Bankruptcy Filing.

23        31.    The Defendant caused the Plaintiff damage in the amount of

24   $3894.00.

25        32.    The Defendant should be denied a discharge in the amount of

26   $3894.00 pursuant to 11 U.S.C. § 523(a)(2)(C).

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     Case 6:16-ap-01072-MW      Doc 1 Filed 03/22/16 Entered 03/22/16 11:33:31    Desc
                                Main Document     Page 5 of 5


 1                              V.    COUNT III Money Judgment

 2        33.    The Plaintiff re-alleges and incorporates by reference the

 3   allegations set forth in paragraphs 1 through 32 above.

 4        33.    The Defendant caused the Plaintiff damage in the amount of

 5   $3894.00.    The total presumed to be nondischargeable is $3894.00

 6        34.    Upon a finding that the debt is nondischargeable, Plaintiff is

 7   entitled to a money judgment.

 8                                   VI.   PRAYER FOR RELIEF

 9   WHERFORE, Plaintiff prays for relief as follows:

10      1. A monetary judgment in the amount of $3894.00, including accrued

11         interest to the petition filing date, plus contract rate interest to

12         date of judgment, to continue to accrue post-judgment;

13      2. An Order of nondischargeability under 11 U.S.C. § 523(a)(2)(A) and (C);

14      3. An Order awarding Plaintiff its attorneys’ fees and costs incurred

15         herein; and

16      4. An Order awarding Plaintiff such further relief as this Court deems

17         just and proper.

18
     Dated:        03/22/2016                       Respectfully Submitted,
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20                                                  By: /s/ N. Stephen Vokshori__
                                                    N. Stephen Vokshori
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                                                    Vokshori Law Group, APLC
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